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                      IN THE UNITED STATES DISTRIC)
                      FOR THE MIDDLE DISTRICT OF
                                EASTERN DIVISl94b MAR 23 P
                                                           3:              30
FRANK G. HOLLEY,
                                                       DEBRA P. HACK TI. CL
       Plaintiff,                                                                   id

V.                                                      JURY TRIAL REQUESTED

TOWN OF CAMP HILL, DANNY EVANS,
& JOHNNY L. POTTS,

       Defendants.

                                       COMPLAINT

       COMES NOW the Plaintiff Frank G. Holley and doth complain against the above-

named Defendants as follows:

                              I. JURISDICTION & VENUE

       1. This Court has jurisdiction over this action pursuant to Title 28 U.S.C. §

1331 and 1343(a)(3) in that the controversy arises under the United States Constitution

and under 42 U.S.C. § 1983. This Court has authority to award attorneys fees pursuant

to 42 U.S.C.. § 1988. Plaintiff further invokes the supplemental jurisdiction of this Court

under 28 U.S.C. § 1367(a) to hear and adjudicate state law claims. Venue is proper in

this district under 28 U.S.C. § 1391(b) because all of the events giving rise to the claims

in this action occurred in this district. Each and all of the acts alleged herein were done

by the defendants, or their officers, agents, and employees, under color and pretense of

the statutes, ordinances, regulations, customs and usages of the Town of Camp Hill,

Alabama.

                                       II. PARTIES




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       2.       Plaintiff Frank G. Holley (hereinafter "Plaintiff' or "Plaintiff Holley") is a

seventy-eight-year-old African-American citizen of Camp Hill, Alabama, and was

formerly mayor of Camp Hill from 1976 for three consecutive terms, totaling twelve

years to 1988. For the next. four years Plaintiff Holley was away from office, but

returned to office from 1992 to 1996. Plaintiff Holley has maintained a strong civic

consciousness ever since, and was even an unsuccessful candidate for mayor on two

occasions since 1996.

       3.       Defendant Town of Camp Hill, Alabama (hereinafter "Defendant Town" or

"Camp Hill") is a municipal corporation organized under the laws and Constitution of the

State of Alabama, and is an entity capable of suing and being sued. Defendant Town

acts by and through its mayor, in doing various things to promote the interests of said

municipality.

       4.       Defendant Danny Evans (hereinafter "Defendant Evans" or "Evans") was

last elected mayor of Camp Hill in 2012 and took office on November 5, 2012. Mayor

Evans has long considered Plaintiff to be a rival.

       5.       Defendant Johnny L. Potts (hereinafter "Defendant Potts" or "Potts") has

served as chief of police of the town of Camp Hill since on or about November 2014.

                                          Ill. FACTS

       6.       Ever since Defendant Evans took office as mayor of Camp Hill in 2012,

the Plaintiff has in good faith raised significant questions about the operations and

services of the Defendant Town of Camp Hill.

       7.       Among the issues of public concern that Plaintiff was raising included: (a)

encouraging the Defendant Town to have an audit-performed, when no such audit had




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been performed in the past 5 to 6 years, (b) requesting a regular budget for the

Defendant Town when none existed, (c) attempting to beef up dog leash laws to prevent

children from being attacked, and (d) attempting to name a street or building in

Defendant Town after President Barack Obarna.

       8.     Plaintiff made these requests to the Defendants for action on multiple

occasions, sometimes at City Council meetings and sometimes individually, by voice,

letter or other form of communication. It was obvious that the Defendants, especially

Defendant Evans, did not appreciate Plaintiffs attempts to address matters of public

concern and was looking for ways to retaliate against Plaintiff for his outspokenness.

       9.     On or about December 14, 2015, while the Plaintiff was driving down the

old Highway 280 in Camp Hill, he was wrongfully stopped and arrested by Defendant,

Potts, acting at the behest of the Defendants Evans and Town of Camp Hill.

       10.    At that said time, Plaintiff was driving well within the speed limit and was

involved in no traffic violations whatsoever. As a result, Plaintiff was stopped without

probable cause by Defendant Potts, acting on behalf of said other Defendants. Plaintiff

was unlawfully detained and illegally arrested. In addition, Plaintiff was tortured by

being required to remain in a compact police vehicle in handcuffs in considerable pain

due to an injured shoulder that had only recently received rotator cup surgery.

       Ii. In addition, Plaintiff was falsely arrested and charged with driving under

the influence of alcohol, even though a breathalyzer test confirmed that Pjaintiffs blood

alcohol level was 0.00. (Exhibit A)

       12.    While driving Plaintiff to the county jail in Dadeville, Alabama, Defendant

Potts either negligently and/or intentionally ran off the side of the road causing further




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injury to the Plaintiff. In running off the road, the Defendant Potts, acting on behalf of

the other Defendants was so reckless in hitting the shoulder of the road that it inflicted

great additional pain on to the Plaintiff.

          13.   When Plaintiff arrived at the jail, he voluntarily took the sobriety test,

above-referenced. After the same, the Defendants realized they had no good reason

for having stopped and apprehended Plaintiff. As a result, in order to cover up their ill

motives and malfeasance, the Defendants charged Plaintiff with an illegal lane change

violation, even though this was a totally false charge. Plaintiff was also falsely charged

with having a pistol without a permit, even though Plaintiff had a commission card from

the sheriff of Tallapoosa County, entitling Plaintiff to carry a pistol in lieu of a valid pistol

permit.

          14.   Indicative of the plan to wrongfully retaliate against and harass the Plaintiff

were efforts by the Defendant Town and Evans to direct former chief of police Roosevelt

Finley, and former police officer Nathan White, to arrest Plaintiff Holley on "anything

they could get him on," including DLII, or especially DUI. Said witnesses Finley and

White are ready, willing, and able to confirm this when asked.

          15.   Another witness, Morris Greathouse, heard Defendant Evans direct

Defendant Johnny Potts to arrest Plaintiff Holley on "anything he could get him on,

especially DUI."

          16.   As a result of the wrongful activities of the Defendants described above,

Plaintiff suffered severe physical injuries and great mental anguish. In addition,

Defendants were attempting to squelch Plaintiffs free speech, iii speaking out on issues

of public concern.




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         17.    Plaintiff has information and belief that the Defehdaht Evans, as mayor of

the Town of Camp Hill, had instructed the Defendant Potts to target the Plaintiff and

certain other individuals in Camp Hill with whom the mayor disagreed for legal action,

including the arrest and false charges to which Plaintiff was subjected.

                                   IV. CAUSES OF ACTION

               Count I - Violation of First Amendment Right to Free Speech

         18.    Plaintiff hereby repeats, realleges, and reincorporates by reference the

preceding counts of the complaint and further avers that he has a right to free speech

under the First Amendment of the U.S. Constitution to address matters of public

concern as Plaintiff has done, as more fully described in paragraphs 1 through 17

above,

         19.    Plaintiff further avers that the subject matters about which he spoke out

were indeed matters of public concern, and not matters of private interest only.

         20.    Plaintiff further avers that his speaking out on these matters of public

concern was in the public interest, and was not disruptive to any legitimate business

interest of the Defendants, including the Defendant Town of Camp Hill.

         21.    Plaintiff further avers that the action taken against him, including the

wrongful arrest, false imprisonment, and unlawful detainment resulting in physical injury

and mental anguish, was substantially motivated by Defendants' desire to inhibit or

prohibit Plaintiffs free speech.

         22.    Plaintiff further avers that, but for his exercise of free speech, the actions

against him by the Defendants above described would not have occurred.




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       23.    Plaintiff has suffered damages, including not only physical pain and

mental anguish, but the cost of having to hire an attorney, namely Gary Black of

Auburn, Alabama, to defend him against the wrongful legal action brought against

Plaintiff by the Defendants.

                                    Prayer for Relief

       WHEREFORE premises considered the Plaintiff prays for damages against the

Defendants named above in such a six to seven figure amount as the judge and jury

deem appropriate from the facts of this case.

                          Count U - Negligence or Wantonness

       24.    Plaintiff hereby repeats, realleges, and reincorporates by reference the

preceding counts of the complaint and further avers that the Defendants were negligent

or wanton in the wrongful arrest, false imprisonment, and unlawful detainment of

Plaintiff, as more fully described in paragraphs 1 through 15 above.

       25.    As a direct or proximate consequence of the negligence or wantonness of

the Defendants, Plaintiff was caused to suffer physical injury and mental anguish.

       26.    The Plaintiff avers that the negligent or wanton conduct of the Defendants

combined and concurred to proximately cause the Plaintiffs injuries as herein above

alleged.

                                       Prayer for Relief

       WHEREFORE premises considered, Plaintiff hereby demands of the

Defendants, jointly and severally, compensatory and punitive damages in an amount

excess of the jurisdictional requirements of this Court, said amount to be determined by

a judge or jury, plus costs.




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       Respectfully submitted this the          ay   of March 2016.

                                                    Frank Holley, Plaintiff.




                                                                               74J)




                                                Chase Estes (ASB-1089-F44L)
                                                Attorney for Plaintiff


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                                     JURY DEMAND

      Plaintiff hereby demands a trial by jury oi




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